                                               Certificate Number: 00134-AZ-CC-033833002


                                                             00134-AZ-CC-033833002




                    CERTIFICATE OF COUNSELING

I CERTIFY that on December 15, 2019, at 2:37 o'clock PM MST, Wendy A.
Ferris received from Cricket Debt Counseling, an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   December 15, 2019                      By:      /s/Heather Kaiser


                                               Name: Heather Kaiser


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).


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